            Case 1:19-cr-10078-RWZ Document 66 Filed 02/27/22 Page 1 of 5




February 27, 2022

Via ECF

Hon. Indira Talwani
Hon. Rya W. Zobel
United States District Court
1 Courthouse Way
Boston, MA 02109

Re:       United States v. William Singer (19-cr-10078-RWZ)
          United States v. Jovan Vavic (19-cr-10081-IT)

Dear Judge Zobel and Judge Talwani:
        I am defense counsel in one of the college admissions cases, but I am writing to you as an
officer of the court, and not on behalf of any client. I am writing to inform you of information
that indicates that William Singer has apparently made false statements about his assets and these
false statements may affect the proceedings before you. As described below, it appears that in
2018-2020, Mr. Singer had millions of dollars hidden in foreign bank accounts and the funds
have been moved while he was ostensibly cooperating with the government.

        Furthermore, there is substantial evidence that the prosecutors and agents running the
investigation and prosecution were on actual notice that Mr. Singer was involved with a variety
of criminal activities, including money laundering, and deviated from standard procedures by not
investigating these activities or making timely, routine inquiries of Mr. Singer and others about
such activities.1 Such inquiries should have led them to these foreign bank accounts. The
government is also aware that Mr. Singer moved millions of dollars out of a U.S. bank account
used for his side-door activities. Those funds are unaccounted for.

        The result of this activity is that Mr. Singer has provided financial disclosure forms in
connection with court proceedings that appear to be inaccurate. All together, these facts raise the
question whether he has received an unwritten promise, reward or inducement for his
cooperation and testimony from the government because the government was on notice of such
misconduct and deviated from accepted practices by not investigating these issues. This could
affect the integrity of any consents or other actions Mr. Singer has taken or refrained from. The
government included Mr. Singer on witness lists in the Wilson/Abdelaziz and Vavic trials, but
none of this information was included in its Brady or Giglio disclosures as required under Local


1
    This occurred during prior administrations of the U.S. Attorney’s Office.
          Case 1:19-cr-10078-RWZ Document 66 Filed 02/27/22 Page 2 of 5


February 27, 2022



Rule 116.2.2 The government made representations in court proceedings that were either
incomplete or inaccurate, and Mr. Singer was incentivized to not dispute them. See, e.g., United
States v. Bizzack.3

       I will describe these issues in more detail below. Because some of the information that
the government is aware of was produced subject to government assertions of confidentiality, I
have not provided all of the relevant specifics in this letter.

        Overseas Accounts

       In the course of my work, I received information about six overseas banks associated
with William Singer, and at least some are also associated with his brother Cliff Singer. The
banks are:

        1. Banistmo Bank in Panama City, Panama: It is likely both William and Cliff Singer
           are associated with an account here. At least one account was probably open for
           several years and in 2020 had over $600,000.

        2. A Middle East bank: At least one account was most likely associated with William
           and Cliff Singer, and closed in May 2020.

        3. A bank in Madrid, Spain: An account associated with William Singer may have been
           closed in November 2019 and may have had over 150,000 Euros.

        4. Deltec Bank & Trust in Nassau, Bahamas: An account associated with William
           Singer likely held approximately $900,000 in January 2020. Discovery shows Mr.
           Singer took his family on two yacht vacations to the Bahamas in 2017 and 2018.

        5. IMS Trust in the Cayman Islands: In early 2020 an account associated with William
           Singer may have had $1.9 million.


2
  Local Rule 116.2 requires the government to disclose “any information that tends to cast doubt on the
credibility or accuracy of any witness or evidence that the government anticipates calling or offering in its
case-in-chief” and “a written description of any prosecutable federal offense known by the government to
have been committed by any witness whom the government anticipates calling in its case-in-chief.”
3
  The FBI 302 report relevant to Mr. Bizzack was produced under seal and is not quoted in this letter. The
government delayed disclosure of the October 1, 2018 Singer note discussed below, and it was not disclosed
until February 2020, months after the Bizzack sentencing. With respect to the Bizzack sentencing, the
government did not disclose to the Court that the $20,000 invoice containing Mr. Bizzack’s name was
created after Mr. Singer became a Confidential Informant (“CI”) and was, in fact, an artifact of his
cooperation. See Bizzack Tr. dated October 19, 2019 at 17:8-18:1, 34:7-35:3. There were no names listed
on any invoices until after Mr. Singer became a CI. It was the FBI that had insisted Mr. Singer have Ms.
Heinel put “more detail” on her invoices. See Abdelaziz Trial Tr. Day 10 at 110:19-110:25. And Mr.
Singer had great incentive to get Ms. Heinel to do his bidding, as set forth below.


                                                                                                            2
          Case 1:19-cr-10078-RWZ Document 66 Filed 02/27/22 Page 3 of 5


February 27, 2022



        6. A bank in Spain: The account is likely associated with William Singer, and when it
           was closed in mid-2020 it probably had over $40,000.

       It appears funds were moved out of at least some of these accounts after Mr. Singer
agreed to work as a CI in September 2018. Defense counsel does not have the investigative
resources and subpoena power that are available to the government. I do not mean to imply that
the above is or is not an exhaustive list of Mr. Singer’s undisclosed assets or bank relationships,
or a complete description of William and Cliff Singer’s contacts with each bank. Obviously, I
am not able to confirm this information with the banks or any law enforcement database.

       The significance of these accounts becomes apparent if one reviews the government’s
unorthodox handling of Mr. Singer as a CI.

        The Government Recruits Singer as a Confidential Government Informant.

        The government was investigating Mr. Singer in 2018. Prior to September 2018, it was
conducting consensual and Title III telephone surveillance, and recorded calls describing Mr.
Singer’s activities. Because the government claims the tapes are confidential, I will not quote
them, but they put the government on notice of a myriad of Mr. Singer’s activities. A review of
such tapes makes clear that the government should have immediately focused on money
laundering and foreign bank accounts. In a recent trial, a FBI financial analyst testified that Mr.
Singer collected over $25 million in domestic bank accounts used for his side-door activities and
several millions of dollars had been transferred from these accounts but not tracked down.

        When the government confronted Mr. Singer in September 2018 and solicited him to
become a CI (i.e., to work in an undercover investigation), Mr. Singer initially disputed the
government’s claim that some of the parents who were his clients had knowingly participated in
bribery. In his personal notes written on or about October 1, 2018, Mr. Singer described the
intense pressure the agents and prosecutors put on him to change his version of events:

        Loud and abrasive call with agents. They continue to ask me to tell a fib and not
        restate what I told my clients as to where there money was going -to the program
        not the coach and that it was a donation and they want it to be a payment. I asked
        for a script if they want me to ask questions and retrieve responses that are not
        accurate to the way I should be asking the questions. Essentially they are asking
        me to bend the truth which is what they asked me not to do when working with the
        agents and Eric Rosen. Liz raised her voice to me like she did in the hotel room
        about agreeing with her that everyone Bribed the schools. This time about asking
        each person to agree to a lie I was telling them.

         He also wrote in his notes that he was very concerned about what money he would have
left after any prosecution and sentence: “How do I have money when I get out? Sell house, 401
K etc Sprinter Van card etc[.] What do I do about restitution . . . ?”




                                                                                                      3
            Case 1:19-cr-10078-RWZ Document 66 Filed 02/27/22 Page 4 of 5


February 27, 2022



        In September 2018, the agents instructed Mr. Singer that he had to make all non-
privileged calls on a recorded phone, but quickly learned he disobeyed this instruction and called
his brother Cliff Singer on a phone that was not recording. There is no indication in the
interview reports that the agents questioned Mr. Singer if he and Cliff discussed money
laundering or foreign bank accounts in these unrecorded calls.

        It is standard FBI procedure that before the agents can agree to work with a person as a
Confidential Informant, the agents must fully debrief the proposed CI about all ongoing criminal
activity. And the government’s February 19, 2019 plea agreement with Mr. Singer includes the
right to insist on an immediate and complete financial disclosure:

         If the U.S. Attorney requests, Defendant further agrees to complete truthfully and
         accurately a sworn financial statement and to deliver that statement to the U.S.
         Attorney within 30 days of signing this Plea Agreement . . . .4

         The government has claimed it disclosed to defense counsel all of its reports of Singer
interviews from September 2018 to August 2021. In none of these reports prior to August 2021
did the agents question Mr. Singer about money laundering with family members or his assets.
Nor do the reports contain much of the information Mr. Singer provided that exculpates parents.
An IRS agent testified at trial that the interview reports memorialized information that would
assist the prosecution, and generally did not memorialize exculpatory statements by Mr. Singer.5

        Mr. Singer had an extensive series of interviews memorialized in agents’ reports. The
government produced hundreds of pages of Singer interview reports, handwritten notes and
related attachments. None of the reports dated prior to August 2021 memorializes questioning of
Mr. Singer about money laundering or hidden assets. An August 2021 FBI interview report
memorializes a perfunctory and uninformative interview with Mr. Singer about assets.6

        After Mr. Singer wrote in his notes that he was being pressured to lie by the agents, he
worked as a CI for almost four months. At the same time, the record reflects little if anything
that the government did to learn about or seize Mr. Singer’s hidden assets. This quid quo pro—


4
  The government did not receive a financial statement from Mr. Singer until June 2021–that is,
over two years after the plea agreement was executed, and almost three years after he became a
CI. It appears that AUSA Eric Rosen outsourced the financial analysis of Mr. Singer’s assets to
Mr. Singer’s own attorneys. See USAO-VB-01719558.
5
    E.g., Abdelaziz Trial Tr. Day 11 at 176:11-176:15, 178:5-178:20.
6
  The circumstances of this 2021 interview underscore the government’s conscious decision not to pursue
Mr. Singer’s assets diligently. It occurred almost three years after the government had asked Mr. Singer to
be a CI, and thus was not timely. It does not show the government asked specific questions about relevant
topics it knew about. Nor does it indicate any initiative by the government to research Mr. Singer’s assets.
The government only conducted this lackluster interview on the eve of the Abdelaziz/Wilson trial, after
numerous inquiries by defense counsel.


                                                                                                          4
          Case 1:19-cr-10078-RWZ Document 66 Filed 02/27/22 Page 5 of 5


February 27, 2022



where Mr. Singer cooperated despite his misgivings and the government looked the other way
while Mr. Singer further concealed his assets—surely was not lost on Mr. Singer. During 2020
and 2021, myself and other defense counsel in the Sidoo case repeatedly asked the government to
disclose information concerning Mr. Singer’s assets. After months of delays, the government
provided a financial disclosure form, which does not disclose his overseas assets.



Sincerely,


/s/ Michael Kendall
Michael Kendall (BBO # 544866)
WHITE & CASE LLP
75 State Street
Boston, MA 02109-1814
Telephone: (617) 979-9310
michael.kendall@whitecase.com




                                                                                             5
